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                                                                                  I t ~~3Firt oi Oa~ifornia
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         Attorneys for Plaintiff
       7 BAKER FILM FUND, LLC

       8

       9                            SUPERIOR COURT OF THE STATE OF CALIFORNIA
      10                        FOR THE COUNTY OF LOS ANGELES - WEST DISTRICT
      11
      12 BAKER FILM FUND, LLC, a Delaware )               CASENO.             -SC126457
            limited liability company,               )
      13                                             )
                              Plaintiff,             )    COMPLAINT FOR:
      14                                             )
                    V.                               )    (1)   BREACH OF CONTRACT
      15                                             )    (2)   FRAUD; and
                                                     )    (3)   NEGLIGENT
      16 WEATHERVANE PRODUCTIONS,                     )         MISREPRESENTATION
            INC. , a Nevada corporation; FORREST )
      17    CAPITAL PARTNERS, INC., a Florida )           REOUEST FOR JURY TRIAL
            corporation; WELLS FARGO ADVISORS, )
      18    LLC, a Delaware limited liability company;)
            WELLS FARGO BANK, N.A., a national )
      19    association; JASON VAN EMAN, an           )
            individual; BENJAMIN MCCONLEY, an )             CASE MANAGEM~sJ T GOINFER&aC.`"c
      20    individual; BENJAMIN RAFAEL, an           )
            individual; and DOES 1 through 20,                ~
                                                      ) JUDGE GERALD ROSENBERG
      21    inclusive,                                )
                                                      )

      22                      Defendants.             )
                                                      )
      23
      24
       25
      26
      27
       28

            K:15958-2\COMPLAINT 091816.wpd
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       1            Plaintiff BAKER FILM FUND, LLC ("BFF" or "Plaintiff") hereby alleges as follows:

       2                                      SUNIlVIARY OF THE ACTION

       3            1.       This case involves a fraudulent scheme by defendants to finance independent motion

       4 I pictures. The scheme worked like this: defendants represented fo unsuspecting co-financiers and
       5    producers of motion pictures that defendants Weathervane Productions, Inc. ("WVP") and Forrest

       6    Capital Partners, Inc. ("FCP") had an established multi-million line of credit with Wells Fargo Bank

       7 that could be tapped to co-finance motion pictures. Defendant Benjamin Rafael ("Rafael"), who
       8    represented that he was an authorized agent and employee of Wells Fargo, would verify on behalf

       9    of Wells Fargo the existence ofthe purported line of credit established by WVP and FCP, and Wells

      10 Fargo's willingness to co-finance the pictures. After the unsuspecting co-financier would deposit
      11 its share of the motion picture budget in a production account, defendants would delay or fail to
      12 contribute their share of the motion picture's budget as agreed; whereupon, either the production of
      13 the picture would be cancelled —resulting in substantial damages to the co-producers and others with
      14 a profit participation in the picture — and/or defendants WVP and FCP would abscond with the co-
      15 financier's funds.
      16            2.        In reliance on the warranties and representations of WVP, FCP and Wells Fargo that

      17 WVP and FCP were financially backed and qualified by Wells Fargo, and ready and able to co-
       18 finance motion pictures with BFF, BFF, WVP and FCP entered into a written financing agreement
       19 dated as of November 7, 2014, as subsequently amended, pursuant to which WVP and FCP agreed
       20 to co-finance the production of four (4) motion pictures with BFF. Pursuant to the parties'
       21 agreement, BFF would receive the return of its capital contribution plus interest together with a
       22 producer fee and other fees and contingent compensation with respect to each of the motion pictures
       23 to be produced pursua.nt to the parties' agreement.
       24            3.       In reliance on the warranties and representations made by the defendants, BFF inade

       25 an initial deposit of $1,500,000 into the production account for the first motion picture to be co-
       26 financed pursuant to the parties' agreement, and further incurred development, pre-production
       27 I expenses and legal costs of approximately $400,000. However, after inducing BFF to enter into the
       28   co-financing agreement and make the aforesaid $1,500,000 deposit to the production account,


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       1 defendants failed to perform their agreed upon material obligations, resulting in the cancellation of

       2 the production of the first motion picture and BFF losing the fixed and contingent payments had the

       3 picture been produced together with other agreed upon valuable consideration.

       4            4.       As a result of the wrongful and fraudulent conduct engaged in by the defendants as

       5 alleged herein, BFF seeks to recover compensatory and punitive damages, together with its attorneys

       6    fees' and costs incurred in bringing this action.

       7                                               THE PARTIES _

       8            5.       Plaintiff BFF is a Delaware limited liability company with its principal place of

       9    business in the County of Los Angeles, State of California.

      10            6.       Plaintiff is informed and believes and based thereon alleges that defendant WVP is

      11 aNevada corporation which is, and at all times relevant hereto has been, conducting business within

      12 the County of Los Angeles, State of California.

      13            7.        Plaintiff is informed and believes and based thereon alleges that defendant FCP is a

      14 Florida limited liability company which is, and at all times relevant hereto has been, conducting

      15 business within the County of Los Angeles, State of California.

      16            8.        Plaintiff is informed and believes that defendant Wells Fargo Advisors, LLC

      17 ("WFA") is a Delaware limited liability company which is, and at all times relevant hereto has been,

       18   conducting business within the County of Los Angeles, State of California.

       19           9.        Plaintiff is informed and believes that defendant Wells Fargo Bank, N.A. ("WFB")

       20 is a national banking association which is, and at all times relevant hereto has beeri, conducting

       21 business within the County of Los Angeles, State of California. WFA and WFB are hereinafter
       22 sometimes collectively referred to as "Wells Fargo."

       23            10.      Plaintiff is informed and believes and based thereon alleges that defendant Jason Van

       24   Eman ("Van Eman") is a resident of the State of Oklahoma who is, and at all times relevant hereto

       25 has been, conducting business within the County of Los Angeles, State of California. Plaintiff is

       26 informed and believes and based thereon alleges that Van Eman purports to the president, secretary,

       27 treasurer, and sole director of WVP.

       28


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       1           11.      Plaintiff is informed and believes and based thereon alleges that defendant Benj amin

       2   McConley ("McConley") is a resident of the State of Florida who is, and at all times relevant hereto

       3   has been, conducting business within the County of Los Angeles, State of California. Plaintiff is

       4   informed and believes and based thereon alleges that McConley purports to be the CEO and sole

       5   director of FCP.

       6           12.      Plaintiff is informed and beiieves and based thereon alleges that defendant Rafael is
 ~
       7   a resident of the State of Florida who is, and at all times relevant hereto has been, conducting

       8   business within the County of Los Angeles, State of California. At all relevant times, Rafael

       9   purported to be an employee and authorized agent of Wells Fargo.

      10           13.      Plaintiff is informed and believes and based thereon alleges that defendant WVP

      11 is a mere shell only and has no existence separate and apart from VanEnam. At all times
      12 I mentioned herein there existed a unity of interest and ownership between VanEnam and his

      13 company WVP such that any individuality and separateness between VanEnam, on the one hand,
      14 and WVP, on the other hand, has ceased, and WVP is the alter ego of VanEnam. Accordingly,
      15 VanEnam is individually liable for all debts and obligations of WVP.
      16           14.       Plaintiff is informed and believes and based thereon alleges that defendant FCP is

      17 a mere shell only and has no existence separate and apart from McConley. At all times mentioned
      18 herein there existed a unity of interest and ownership between McConley and his company FCP
      19 such that any individuality and separateness between McConley, on the one hand, and FCP, on
      20 the other hand, has ceased, and FCP is the alter ego of McConley. Accordingly, McConley is
      21 individually liable for all debts and obligations of FCP.
      22            15.      Plaintiff is informed and believes and based thereon alleges that pursuant to

      23 California Code of Civil Procedure § 474, the fictitiously named defendants sued herein as Does
      24 1 through 20, inclusive, and each of them, were in some manner responsible or legally liable for
      25 the actions, events, transactions and occurrences alleged herein. The true names and capacities
      26 of such fictitiously named defendants whether individual, corporate, associate or otherwise, are
      27 presently unknown to Plaintiff, and Plaintiff will seek leave of Court to amend this Complaint to
      28 assert the true names and capacities of such f~ictitiously named defendants when the same have

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       1 I been ascertained. For convenience, each reference to a named defendant herein shall also refer

       2 I to the Doe defendants, and each of them.
       3           16.      Plaintiff is informed and believes and based thereon alleges that at all material times

       4 each of the Defendants was the agent, employee, partner, joint venturer, co-conspirator, and/or
       5 employer of the other and was at all times herein mentioned acting within the course and scope
       6 of that agency, employment, partnership, conspiracy, ownership or joint venture. Plaintiff is
       7 further informed and believes and based thereon alleges that the acts and conduct herein alleged
       8   of each of the Defendants were known to, authorized by, and/or ratified by the other defendants,

       9 and each of them.
      10                                            THE AGREEMENT
      11           17.       BFF, WVP and FCP entered into a written financing agreement dated as ofNovember

      12i 1 7, 2014, as subsequently amended, pursuant to which BFF, WVP and FCP agreed to provide funding

      13 to co-finance the production of four motion pictures (the "Agreement"). Pursuant to the principal
      14 terms of the Agreement, for each of the four pictures, BFF agreed to deposit an agreed upon amount
      15 into a production account maintained by Wells Fargo, after which WVP and FCP would match the
                                            \                            .
      16 funds contributed by BFF with collateral over which Wells Fargo allegedly had a security interest,
      17 with the combination of deposited funds and collateral then serving to collateralize a line of credit
      18 with Wells Fargo to be released as equity and used to f nance the production costs of the respective
      19 motion pictures. Pursuant to the terms of the Agreement, WVP and FCP agreed to contribute total
      20   financing of up to $24 Million (at BFF's election) toward the production costs of the four motion

      21   pictures.

      22            18.      To induce BFF to enter into the Agreement and to contribute funding for the

      23 I I production of the pictures intended to be financed pursuant to the Agreement, Van Eman (both
      24 individually and on behalf of WVP), McConley (both individually and on behalf of FCP), and Rafael
      25 (both individually and on behalf of Wells Fargo) represented to BFF (through BFF's principal
      26 Jonathan Baker and transactional attorney Kevin Koloff), among other things that: (1) Wells Fargo
1     27 was aware of and approved the Agreement, and would manage the master production account where
      28 the funds for the pictures would be invested; (2) WVP and FCP had a securitized line of credit with


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           1        Wells Fargo sufficient for WVP and FCP to satisfy all of their financial commitments under the

           2        Agreement; (3) Wells Fargo was prepared to financially back WVP and FCP's financial obligations

           3        under the Agreement, and would issue an equity line of credit to WVP and FCP for each of the four

           4        pictures in the amounts provided by the Agreement; and (4) WVP, FCP, and Wells Fargo had

           5 previously worked together on similar terms to fund 17 other films, which films had purportedly

           6 been fully funded and produced.
           7                19.      The above-described representations were repeatedly made by the defendants to BFF,

           8        including without limitation on the following occasions: (1) In or around August 2014, during

           9 telephone conversations and email correspondence between Van Eman and McConley, on the one
          10 hand, and BFF's transactional attorney Kevin Koloff, on the other hand; (2) In November 2014,
          11 during an in person meeting that took place at the American Film Market between Van Eman and
          12 McConley, on the one harid, and BFF's principal Jonathan Baker and transactional attorney Kevin
          13 Koloff, on the other hand; and (3) In November 2014, during a conference call between Van Eman,
          14 McConley, and Rafael, on the one hand, and BFF's'principal Jonathan Baker and transactional
          15 I attorney Kevin Koloff, on the other hand.
          16 '. DEFENDANTS' MISCONDUCT. INCLUDING BREACHES OF THE AGREEMENT
                I




          17                20. , Pursuant to and in furtherance of the terms and conditions of the Agreement and in

          18 reliance onthe warranties and representations of Defendants , BFF (a) deposited $1,500,000 into.the
          19 master production account for the first picture to be funded under the Agreement, and (b) further
          20        incurred development and pre-production expenses of approximately $400,000.

          21                 21.      WVP and FCP, on the other hand, failed to perform their material duties and

          22 I I obligations under the Agreement, and breached and repudiated those duties and obligations,
          23        including, without limitation, by failing to deposit their matching funds in the production account
1

          24 to finance the production of the first picture and repudiating and rejecting their obligations to co-
          25        finance the additional three pictures under the Agreement.

          26                 22.      When BFF attempted to address WVP and FCP's aforesaid material breach of the

          27 I I Agreement with Van Eman, McConley, and Rafael, it was repeatedly assured that Wells Fargo
           28       continued to financially back the obligations of WVP and FCP under the Agreement and was


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           1     prepared to provide the lines of credit to finance the four pictures under the Agreement, and that

           2     WVP's and FCP's matching equity contributions would be forthcoming. However, after more than

           3     a year passed and the matching contributions were never provided by Weathervane and FCP, it

           4 became apparent that Defendants had no intention of satisfying their contractual obligations under
           5 the Agreement. Accordingly, BFF has been forced to file this action in order to recover the damages
           6 it has suffered on account of Defendants' misconduct.
                                                       FIRST CAUSE OF ACTION

           aii                             (For Breach of Contract — Against VYVP and FCP)
           9!             23.        BFF realleges, adopts and incorporates by reference, each and every allegation

                 contained in Paragraphs 1 through 22, inclusive, of this Complaint as if fully set forth herein.

                          24.        As alleged hereinabove, BFF, on the one hand, and WVP and FCP, on the other hand,

          12 I entered into the written Agreement concerning the fma.ncing of four (4) motion picture projects.
          13              25.        In addition to the express provisions of the Agreement set forth above, the Agreement

          14 I contained an implied covenant that each parry to the Agreement would conduct itself in good faith
          15 I and would fairly deal with the other and, further, that the parties would not interfere with or deprive
`         16 I the others of the benefits of the Agreement. Pursuant to this implied covenant, WVP and FCP had
          17 a duty to conduct themselves in accordance with the terms a.nd conditions of the Agreement, and to
          18     otherwise not engage in any acts which would impair or harm BFF's rights under the Agreement and

          19 to receive the expected consideration and benefits thereunder. By virtue of the relationship between
          20 BFF, on the one hand, and WVP and FCP, on the other hand, BFF placed its trust and confidence
          21     in WVP and FCP to perform all of their duties and obligations pursuant to the terms and conditions

          22     of the Agreement, and to honor the implied covenant to act in good faith in dealing with BFF, and

          23 to not take any actions which would impair or harm BFF's rights..
          24               26.       By engaging in the conduct herein alleged, including by repudiating their duties and

          25      obligations under the Agreement, WVP and FCP have materially breached express and implied

          26 terms and conditions of the Agreement, and have acted in bad faith by preventing and precluding
          27      BFF from receiving the full benefits and consideration under the Agreement. As a direct and

           28     proximate result of the material breach and repudiation of the Agreement by WVP and FCP, none

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      ~1 of the pictures intended to be financed by the pal-ties were produced and BFF lost all of the
        2   payments, fees and other benefits which were intended to be received had the pictures been produced

        3   as contemplated by the-Agreement.

        4            27.      BFF is informed and believes and based thereon alleges that WVP and FCP pursued

        5   this course of conduct in bad faith with the intent to interfere with, injure and frustrate BFF's

        6   enjoyment of the benefits and rights conferred pursuant to the terms of the Agreement.

        7            28.      BFF has performed all conditions, covenants and promises required pursuant to the
                                                      1
        8   terms of the Agreement, except to the extent such performance was waived, excused or prevented

        9   by reason of acts or omissions of BFF.
       10            29.      As a direct and proximate result of the material breaches of the Agreement by WVP

       11 and FCP, BFF has suffered damages in an amount according to proof at trial, but which is
       12 believed to be not less than $6 million. When BFF has ascertained the full amount of its damages,
       13 it will seek leave of Court to amend this Complaint accordingly.
       14                                       SECOND CAUSE OF ACTION

       15                                     (For Fraud - Against All Defendants)

       16            30.       BFF realleges, adopts and incorporates by reference, each and every allegation

       17 contained in Paragraphs 1 through 22, inclusive, of this Complaint as if fully set forth herein.
       18            31.       In and during 2014 and prior to BFF entering into the Agreement Van Eman (both

       19 individually and on behalf of WVP), McConley (both individually and on behalf of FCP), and Rafael
       20 (both individually and on behalf of Wells Fargo) represented to BFF (through BFF's principal
       21 Jonathan Baker and transactional attorney Kevin Koloff), among other things, that (1) Wells Fargo
       22 was aware of and would financially back the financial obligations of WVP and FCP under the
       23 Agreement, and set up and administer the master production account to which the funds for the
       24 motion picture projects contemplated by the Agreement would be invested; (2) WVP and FCP had
       25 a securitized line of credit with Wells Fargo sufficient for WVP and FCP to satisfy all of their
       26 financial commitments under the Agreement; (3) Wells Fargo would issue an equity line of credit
       27 to W VP and FCP in the amounts provided for each of the motion pictures under the Agreement, and
       28 (4) WVP, FCP, and Wells Fargo had previously worked together on similar terms to fund 17 other
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          1 I films, which films had purportedly been fully funded and produced. ~                                      N

          2           32.      Notwithstanding the aforesaid representations made by and on behalf of Defendants,

          3   and each of them, throughout 2015 and 2016, after WVP and FCP failed to timely make their

     -    4 I matching contributions under the Agreement, Van Eman (both individually and on behalf of
          5 I Weathervane), McConley (both individually and on behalf of FCP), and Rafael (both individually

          6 I and on behalf of Wells Fargo) repeatedly represented to and assured BFF (through BFF's principal

          7 I Jonathan Baker and transactional attorney Kevin Koloff) that Wells Fargo continued to financially

          8   back the obligation of WVP and FCP under the Agreement, that Wells Fargo still intended to issue
          9   the equity lines of credit to WVP and FCP for each of the pictures to be co-financed under the

         10 Agreement and that WVP and FCP's matching financial contributions to co-finance the production
         11 costs of the pictures would still be made.
         12           33.       The foregoing representations made by and on behalf of Defendants were false, or

         13 I made recklessly and without regard for the truth. Specifically, BFF is informed and believes and
         14' based thereon alleges that at the time the foregoing representations were made by Defendants, they

         15 knew (1) that Wells Fargo (i.e. its representatives other than Rafael) was unaware of and did nbt
         16 intend to financially back the obligations of WVP and FCP under Agreement and had no intent to
         17 manage and administer the 'master production account where tlle funds for the motion picture
         18 projects would be invested, (2) that Wells Fargo did not intend to issue a line of credit to WVP and
         19 FCP to co-finance the production of the motion pictures contemplated by the parties' Agreement,
         20 (3) that WVP and FCP had no intention or ability to fund their matching contributions under the
         21 Agreement, and (4) that many (if not all) of the previous film projects on which WVP, FCP, and
         22 Wells Fargo had purportedly worked together had not been fully funded or produced, and had
         23 actually given rise to claims of fraud against all Defendants.
         24            34.        BFF is informed and believes and based thereon alleges that the foregoing

         25 I I representations were made with the intention of inducing BFF to enter into the Agreement and/or
         26 to transfer substantial amounts of money to WVP, FCP, and Wells Fargo for their benefit, and BFF
         27 did in fact reasonably and justifiably rely on the aforesaid representations to its detriment by entering
         28 into the Agreement and transferring at least $1,500,000 into the master production account, and by

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       1 I expending significant amounts on development and production costs affiliated with the contemplated

       2 I motion pictures to be financed under the Agreement, all in reliance on Defendants' aforesaid
       3 I representations.
        4           35.       As evidence of Defendants' fraudulent intent, there are already at least four other

        5 lawsuits pending against one or more of the Defendants, which arise out of the same type of motion
 l
        6 picture co-financing
                           ,
                               scheme and misrepresentations at issue in this lawsuit. Accordingly, it appears

        7 that Defendants have engaged in a regular pattern and practice of making fraudulent
        8 I misrepresentations in order to induce unsuspecting companies like BFF to invest significant funds,
        9 time, and resources, and incur substantial expenses in the co-financing of motion pictures with
       10 Defendants.
       11           36.       As a direct and proximate result of the aforesaid fraudulent conduct, BFF has

       12 suffered damages in an amount according to proof at trial, but which is believed to be not less than
       13 $6 million. When Plaintiff has ascertained the full amount of its damages, it will seek leave of
       14 Court to amend this Complaint accordingly.
       15            37.      BFF is informed and believes and based thereon alleges that Defendants, in doing

       16 the things herein alleged, acted willfully, maliciously, oppressively and despicably with the full
       17 knowledge of the adverse effect of their actions on BFF, and with willful and deliberate disregard
       18 of the consequences to BFF such as to constitute oppression, fraud or malice. By reason thereof,
       19 BFF is entitled to recover punitive and exemplary damages from Defendants in an amount
       20 appropriate to punish or set an example of Defendants and to deter them from engaging in such
       21 conduct in the future.
       22                                      SECOND CAUSE OF ACTION

       23                        (For Negligent Misrepresentation — Against All Defendants)
       24            38.       BFF realleges, adopts and incorporates by reference, each and every allegation

       25 contained in Paragraphs 1 through 22, inclusive, of this Complaint as if fully set forth herein.
       26            39.       In and during 2014 and prior to BFF entering into the Agreement Van Eman (both

       27 individually and on behalf of WVP), McConley (both individually and on behalf of FCP),
       28 and Rafael (both individually and on behalf of Wells Fargo) represented to BFF (through BFF's

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       1 principal Jonathan Baker and transactional attorney Kevin Koloff), among other things, that (1)

            I Wells Fargo was aware of and would financially back the financial obligations of WVP and FCP
            I under the Agreement, and set up and administer the master production account to which the funds
            I for the motion picture projects contemplated by the Agreement would be invested; (2) WVP and
            I FCP had a securitized line of credit with Wells Fargo sufficient for WVP and FCP to satisfy all of
            I their financial commitments under the Agreement; (3) Wells Fargo would issue an equity line of

            I credit to WVP and FCP in the amounts provided for each of the motion pictures under the
            Agreement, and (4) WVP, FCP, and Wells Fargo had previously worked together on similar terms
        9 to fund 17 other films, which films had purportedly been fully funded and produced.
      10              40.      Moreover, throughout 2015 and 2016, after WVP andFCP failed to timelymake their
      11 I matching contributions under the Agreement. Van Eman (both individually and on behalf of
      12 I Weathervane), McConley (both individually and on behalf of FCP), and Rafael (both individually
      13 and on behalf of Wells Fargo) repeatedly represented to and assured BFF (through BFF's principal
      14 Jonathan Baker and transactional attorney Kevin Koloff) that Wells Fargo continued to financially
      15 back the obligation of WVP and FCP under the Agreement, that Wells Fargo still intended to issue
      16 the equity lines of credit to WVP and FCP for each of the pictures to be co-financed under the
      17 Agreement and that WVP and FCP's matching financial contributions to co-finance the production
      18     costs of the pictures would still be made.

      19              41.      The foregoing representations made by and on behalf of Defendants were false.
      20 I I However, even if Defendants were not aware of the falsity of the foregoing representations at the
      21 time the representations were made, they nevertheless had no reasonable grounds for believing the
      22 truth of the representations, as they should have been aware of the fact (1) that Wells Fargo (i. e. its
       23    representatives other than Rafael) was unaware of and did not intend to financially back the
      24 obligations of WVP and FCP under Agreement and had no intent to manage and administer the
       25 master production account where the funds for the motion picture projects would be invested, (2)
       26 that Wells Fargo did not intend to issue a line of credit to WVP and FCP to co-finance the
       27 production of the motion pictures contemplated by the parties' Agreement, (3) that WVP and FCP
       28 had no intention or ability to fund their.matching contributions under the Agreement, and (4) that

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           1 many (if not all) of the previous film projects on which WVP, FCP, and Wells Fargo had

            2   purportedly worked together had not been fully funded or produced, and had actually given rise

            3   to claims of fraud against all Defendants.

            4           42.        BFF is informed and believes and based thereon alleges that the foregoing
            5   representations were made with the intention of inducing BFF to enter into the Agreement and/or

~           6   to transfer substantial amounts of money to WVP, FCP, and Wells Fargo for their benefit, and BFF

            7   did in fact reasonably and justifiably rely on the aforesaid representations to its detriment by entering ,
            8   into the Agreement and transferring at least $1,500,000 into the master production account, and by
            9   expending significant amounts on development and production costs affiliated with the contemplated
          10    motion pictures to be financed under the Agreement, all in reliance on Defendants' aforesaid
          11 representations.
          12             43.      As a direct and proximate result of the aforesaid negligent conduct, BFF has
          13    suffered damages in an amount according to proof at trial, but which is believed to be not less than

          14 $6 million. When Plaintiff has ascertained the full amount of its damages, it will seek leave of

          15 Court to amend this Complaint accordingly.

           16                                         PRAYER FOR RELIEF
           17   AS TO THE FIRST CAUSE OF ACTION:

          18             1.       For monetary damages in an amount not less than $6,000,000 in accordance with
           19 proof at trial, together with interest thereon at the maximum legal rate;
           20            2.       For reasonable attorneys' fees and costs as provided for under the Agreement;
           21 AS TO TI3E SECOND CAUSE OF ACTION:

           22            3.       For general and special damages in an amount not less than $6,000,000 in
           23 accordance with proof at trial, together with interest thereon at the maximum legal rate;

           24            4.       For exemplary and punitive damages in an amount according to proof at the time
           25 of trial;

           26   AS TO THE T-HIRD CAUSE OF ACTION:

           27            5.       For general and special damages in an amount not less tha.n $6,000,000 in
           28   accordance with proof at trial, together with interest thereon at the maximum legal rate;

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        1 AS TO ALL CAUSES OF ACTION:

        2             6.        For all costs of suit;
        3             7.        For the maximum interest as may be provided by law;
        4             8.        For all attorneys' fees incurred by Plaintiff in pursuing this action as provided by
        51 the Agreement, and/or for reasonable attorneys' fees as may otherwise be provided by law; and

        6I            9.        For such other and further relief as deemed just and proper.
        7
             DATE: September 21, 2016                          LAVELY & SINGER
        8                                                      PROFESSI        RP RATION
                                                               BRIA       OLF
        9                                                      D    f . JONELI
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                                                               By:                         \-/ l/
        11                                  ~                        BRIAN G k7LF
                                                               Attorneys for P,1 intiff BAKER FILM             f

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       1                                      DEMAND FOR JURY TRIAL
       2             Please take notice that Plaintiff BAKER FILM FUND, LLC demands a trial by jury.

        3

        4    I DATE: SeptemberA 2016                    LAVELY & SINGER
                                                        PROFESSIONAL CORPORATION
        5                                               BRIAN G. ~~~~
                                                        DAVID B.     IS ~
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        8                                               Attorneys for iff BAKER                   0
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